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                           UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF NEW YORK


__________________________________

UNITED STATES OF AMERICA,

              Plaintiff,
                                                  SECOND AMENDED
              v.                                  SCHEDULING ORDER

GARY L. MOORE,                                    Criminal Docket 06-CR-86S(Sr)

           Defendant.
__________________________________


                Based on the sealed Affidavit sworn to by AUSA Jorge S. deRosas on June
26, 2006, it is hereby ordered that defendant is granted additional time within which to file
motions to July 7, 2006.


              The government shall respond to any motions filed by July 14, 2006.


              Oral argument of said motions will be heard on July 19, 2006, at 2:00 P.M.


                Further, based on the sealed Affidavit which I incorporate by reference
herein, I find that for the reasons set forth therein, the time between June 23, 2006, and
July 7, 2006, is hereby excluded, pursuant to 18 USC 3161(h)(8)(A) and that such time
outweighs the public’s right to a speedy trial for the reasons set forth in the Affidavit.


              SO ORDERED.

                                                  /s/ H. Kenneth Schroeder, Jr.
                                                  _______________________________
                                                  H. KENNETH SCHROEDER, Jr.
                                                  United States Magistrate Judge


DATED:        June 27, 2006
              Buffalo, New York
